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                            UNITED STATES DISTRICT COURT
                                       FOR THE
                             DISTRICT OF MASSACHUSETTS

                                                                CRIMINAL #19-CR-10104-ADB

                                 _________________________

                                       UNITED STATES

                                               v.

                                    DIOVANNI CARTER
                                 _________________________


                            DEFENDANT’S MOTION FOR
                         REVOCATION OF DETENTION ORDER


       Diovanni Carter, defendant in the above-captioned criminal case, hereby moves this Court,

pursuant to 18 U.S.C. § 3145(b), to revoke the detention order filed by United States Magistrate

Judge David H. Hennessey on May 3, 2019. As grounds therefore, defendant avers that there are

conditions or a combination of conditions that will reasonably assure his appearance in Court as

required and the safety of any other person in the community. The grounds for this motion are set

forth in a memorandum of law filed separately this date.

                                                    Respectfully submitted,

                                                    DIOVANNI CARTER

                                                    By his attorney,



                                                    /s/ James L. Sultan
                                                    James L. Sultan, BBO #488400
                                                    Rankin & Sultan
                                                    151 Merrimac Street, 2nd Floor
                                                    Boston, MA 02114
                                                    (617) 720-0011
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                                            CERTIFICATE OF SERVICE

         I hereby certify that this document(s) filed through the ECF System will be sent electronically to the registered
participants as identified on the Notice of Electronic Filing (NEF) and paper copies will be sent to those indicated as non-
registered participants on September 19, 2019.



                                                                                        /s/ James L. Sultan




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